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DECLINATION, 1948 THE AVERAGE RANGE OF TIDE 1S APPROXIMATELY 4 FEET N3322.5—W11730/7 5 °
THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS -
FOR SALE BY U.S. GEOLOGICAL SURVEY, DENVER, COLORADO OR WASHINGTON 25, D. C. . EDITION OF 1949

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